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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SECURITIES AND EXCHANGE COMMISSION,

                                            Plaintiff,                20-CV-10832 (AT) (SN)

                          -against-                                           ORDER

RIPPLE LABS, INC., et al.,

                                            Defendants.

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SARAH NETBURN, United States Magistrate Judge:

        The Court has reviewed the SEC’s letter requesting leave to redact portions of four sets

of handwritten notes by SEC staff. The SEC is ORDERED to submit its proposed redactions for

in camera review by April 8, 2022.

SO ORDERED.




Dates: March 14, 2022
       New York, New York
